Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 1 of 9



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              Case No. 14-20237-Civ-COOKE/TORRES

  WENDY POOLE,

          Plaintiff,

  vs.

  CARNIVAL CORPORATION d/b/a
  CARNIVAL CRUISE LINES,

        Defendant.
  _______________________________________/
      ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
          Plaintiff Wendy Poole (“Plaintiff” or “Ms. Poole”) brings this action to recover
  damages plus interest and costs for the alleged negligence of Carnival Corporation
  (“Defendant” or “Carnival”).            See generally Compl., ECF No. 1.               Defendant Carnival
  Corporation filed a Motion for Summary Judgment (ECF No. 33), contending that Plaintiff
  is unable to establish her negligence claim. Plaintiff Wendy Poole filed her Response in
  Opposition to Defendant’s Motion for Summary Judgment [DE33] (ECF No. 39), to which
  Defendant filed its Reply in Support of its Motion for Summary Judgment (ECF No. 40).
  Therefore, Defendant Carnival Corporation’s Motion for Summary Judgment is fully
  briefed and ripe for adjudication.
          I have reviewed Defendant’s Motion for Summary Judgment and accompanying
  attachments, Plaintiff’s Response and accompanying attachments, Defendant’s Reply, the
  record, and the relevant legal authorities. I agree that Plaintiff is unable to establish her
  negligence claim.
          Plaintiff was a passenger on the Carnival Liberty cruise ship when she alleges that
  she was injured on November 8, 2012 at approximately 11:00 p.m.                            Def.’s Statement
  Undisputed Facts ¶¶ 1-2.1 Plaintiff was in a lounge on board the cruise ship enjoying a

  1
    The following facts, which are deemed admitted, are taken from Defendant’s Statement of Undisputed Facts,
  included in its Motion for Summary Judgment (ECF No. 33). The facts are deemed admitted to the extent
  that they are supported by evidence in the record as Plaintiff failed to comply with Local Rule 56.1 in opposing
  Defendant’s Statement of Undisputed Facts. See S.D. Fla. L.R. 56.1(b); see also Gossard v. JP Morgan Chase &

                                                         1
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 2 of 9




  comedy show with her husband when she decided to leave momentarily to check on their
  son, who was in their cabin on a different deck. To get to the cabin, Plaintiff walked
  through the Hot and Cool nightclub. Id. at ¶ 3. Plaintiff then returned to her husband using
  the same route, but this time, she walked into a glass door. Id. at ¶ 4. Plaintiff testified that
  she did not remember if the glass door she walked into had a handle, a sticker strip, or a
  frame, however she did admit that the area was illuminated and that she could see a man
  standing with his arms crossed in the area of the door. Id. at ¶¶ 7-8. Carnival’s corporate
  representative, Rolando Diaz, testified that the glass door in question did have a sticker strip
  from one side of the door to the other, located at about waist level, a sign that said “push,” a
  door handle on the left-hand side, and a metal door frame. Id. at ¶¶ 9-10. Raul Garardo, a
  security officer on board the ship who investigated Plaintiff’s accident, confirmed that the
  door had a stripe across the middle. Id. at ¶ 11.
                                         I. LEGAL STANDARD
           Summary judgment “shall be granted if the pleadings, depositions, answers to
   interrogatories, and admissions on file, together with the affidavits, if any, show that there
   is no genuine issue as to any material fact and that the moving party is entitled to a
   judgment as a matter of law.” Allen v. Tyson Foods, Inc., 121 F.3d 642 (11th Cir. 1997)
   (quoting Fed. R. Civ. P. 56(c)) (internal quotations omitted); Damon v. Fleming Supermarkets
   of Florida, Inc., 196 F.3d 1354, 1358 (11th Cir. 1999). In making this assessment, the Court
   “must view all the evidence and all factual inferences reasonably drawn from the evidence
   in the light most favorable to the nonmoving party.” Stewart v. Happy Herman's Cheshire
   Bridge, Inc., 117 F.3d 1278, 1285 (11th Cir. 1997), and “must resolve all reasonable doubts
   about the facts in favor of the non-movant.” United of Omaha Life Ins. Co. v. Sun Life Ins. Co.
   of Am., 894 F.2d 1555, 1558 (11th Cir. 1990).
           “By its very terms, this standard provides that the mere existence of some alleged
   factual dispute between the parties will not defeat an otherwise properly supported motion
   for summary judgment; the requirement is that there be no genuine issue of material fact.”
   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986) (emphasis in original). “As to
   materiality, the substantive law will identify which facts are material. Only disputes over
   facts that might affect the outcome of the suit under the governing law will properly

  Co., 612 F. Supp. 2d 1242, 1245-46 (S.D. Fla. 2009).

                                                         2
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 3 of 9




   preclude the entry of summary judgment.            Factual disputes that are irrelevant or
   unnecessary will not be counted.” Id. at 248. Likewise, a dispute about a material fact is a
   “genuine” issue “if the evidence is such that a reasonable jury could return a verdict for the
   nonmoving party.” Id.
          “For factual issues to be considered genuine, they must have a real basis in the
   record...mere conclusions and unsupported factual allegations are legally insufficient to
   defeat a summary judgment motion.” Ellis v. England, 432 F.3d 1321, 1326 (11th Cir. 2005)
   (citations omitted). The moving party “always bears the initial responsibility of informing
   the district court of the basis for its motion, and identifying those portions of the pleadings,
   depositions, answers to interrogatories, and admissions on file, together with the affidavits,
   if any, which it believes demonstrate the absence of a genuine issue of material fact.”
   Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Summary judgment is proper “against a
   party who fails to make a showing sufficient to establish the existence of an element
   essential to that party's case, and on which that party will bear the burden of proof at trial.”
   Id. at 322. In those cases, there is no genuine issue of material fact “since a complete
   failure of proof concerning an essential element of the nonmoving party's case necessarily
   renders all other facts immaterial.” Id. at 323.
                                        II. DISCUSSION
         Plaintiff’s single-count Complaint brings an action for negligence against Defendant
  Carnival. “A negligence claim requires a plaintiff to show that (1) defendants owe plaintiffs
  a duty, (2) defendants breached the duty, (3) defendants’ breach injured plaintiffs, and (4)
  plaintiffs’ damage was caused by the injury to the plaintiff as a result of the defendant’s
  breach of duty.” Resnick v. AvMed, Inc., 693 F.3d 1317, 1325 (11th Cir. 2012) (internal
  quotation marks and alterations omitted); see also Isbell v. Carnival Corp., 462 F. Supp. 2d
  1232, 1236 (S.D. Fla. 2006) (“To satisfy the burden of proof in a negligence action, plaintiff
  must show: (1) that defendant owed plaintiff a duty; (2) that defendant breached that duty;
  (3) that this breach was the proximate cause of plaintiff's injury; and (4) that plaintiff
  suffered damages.”); John Morrell & Co. v. Royal Caribbean Cruises, Ltd., 534 F. Supp. 2d 1345,
  1351 (S.D. Fla. 2008) (same). “Each element is essential to Plaintiff’s negligence claim and
  Plaintiff cannot rest on the allegations of her complaint in making a sufficient showing on
  each element for the purposes of defeating summary judgment.” Isbell, 462 F. Supp. 2d at

                                                 3
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 4 of 9




  1236-37.
         Carnival does not contest that it owed a duty of care to Plaintiff. Indeed, “[i]t is a
  settled principle of maritime law that a shipowner owes passengers the duty of exercising
  reasonable care under the circumstances.” Id. at 1237 (citing Kermarec v. Compagnie Generale
  Transatlantique, 358 U.S. 625 (1959); Luby v. Carnival Cruise Lines, Inc., 633 F. Supp. 40 (S.D.
  Fla. 1986)). Rather, Carnival contends that Plaintiff’s negligence claim fails because she is
  unable to establish the second, third, and fourth elements of negligence – namely, that
  Carnival breached its duty to her, any alleged breach of duty was the proximate cause of her
  injuries, and that she suffered damages. See Def.’s Mot. Summ. J. 6-17. I will address each
  contested element in turn.
     A. Breach of Duty
         Plaintiff alleges that Carnival breached its duty of care, creating a dangerous
  condition, namely a clear, glass door with no markings, stickers, or warnings to indicate
  when the door is closed. In her Response to Defendant’s Motion for Summary Judgment,
  Plaintiff states that “there is ample record evidence that the glass door in the aft most section
  of the Hot & Cool Nightclub lacked sufficient warnings…the door lacked any markings, and
  whatever markings it had were narrow, small, and well below eye level.” Pl.’s Resp. 6.
  However, Plaintiff fails to provide any citation to the record to support her statements. On
  the other hand, Carnival cites to a number of places in the record demonstrating that the
  door has a sticker strip across it at or just below waist height, a door handle, a sign that says
  “push,” and a metal frame. Plaintiff’s conclusory statements regarding “ample” record
  evidence, unsupported by any actual citation to the record, are insufficient to demonstrate
  the existence of a material dispute as to any alleged breach of Carnival’s duty of care.
         The reasoning articulated above also extends to all of Plaintiff’s claims predicated on
  Carnival’s failure to have safeguards, to instruct its crew, to have an assessment and
  inspection procedure in place, to comply with all clear, glass door warranties, uses,
  maintenance and inspections, recommendations and requirements, to comply with its own
  internal policies and procedures, or to comply with external standards. Once again, Plaintiff
  fails to cite to any record evidence to support her position that Carnival failed to maintain or
  failed to inspect the glass door at issue or failed to train crewmembers with regard to glass
  doors on board the ship. Plaintiff attempts to argue that Carnival is bound by standards

                                                 4
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 5 of 9




  articulated in the Americans with Disabilities Act (“ADA”) and other “national standards,
  which provide for safe use of glass doors.” Id. at 13. However, Plaintiff fails to explain how
  the ADA is applicable in this case and fails to provide any record evidence demonstrating
  that the standards she relies upon (i.e. New York State Law Industrial Codes Rule No. 47,
  Maryland Code § 10.16.04.03, and St. Petersburg, FL City Ordinance 8-1) are actually
  national standards applicable to Carnival’s vessels.       Again, Plaintiff makes conclusory
  statements regarding these supposedly national standards, unsupported by any record
  evidence or any expert testimony regarding their applicability in this particular situation.
         Plaintiff also alleges that Carnival breached its duty of care, creating a dangerous
  condition and allowing it to exist notwithstanding its knowledge of prior similar incidents.
  Plaintiff cites to the deposition testimony of Raul Garardo, a security officer, in support of
  the proposition that closing the subject glass door after Plaintiff walked through it on her
  way to check on her son created the dangerous condition.             Plaintiff also cites to the
  deposition testimony of Carnival’s corporate representative, Rolando Diaz, in support of the
  proposition that Carnival allowed a dangerous to condition to exist, notwithstanding its
  knowledge of prior incidents. Mr. Diaz identified seven prior incidents that occurred on the
  Carnival Liberty (Plaintiff’s cruise ship), as well as on the Carnival Valor and the Carnival
  Freedom, involving passengers hitting, striking, or bumping into a glass door. In response,
  Carnival argues that Plaintiff has failed to produce any record evidence of substantially
  similar incidents that would have put Carnival on notice of a dangerous condition and that,
  to the extent Plaintiff argues that the door was a dangerous condition of which Carnival
  failed to warn her, it had no duty to warn of an open and obvious danger.
         When a passenger claims she is injured by a dangerous condition on the ship, the
  standard of care “requires, as a prerequisite to imposing liability, that the carrier have had
  actual or constructive notice of the risk-creating condition.” Keefe v. Bahama Cruise Line, Inc.,
  867 F.2d 1318, 1322 (11th Cir. 1989).        Therefore, generally, in order to prove that a
  defendant breached its duty of care, a plaintiff must show that: (1) a dangerous condition
  existed and (2) that defendant had actual notice of the dangerous condition.              See id.
  However, “[w]here a cruise ship operator created the unsafe or forseeably hazardous
  condition, a plaintiff need not prove notice in order to show negligence.” Long v. Celebrity
  Cruises, Inc., 2013 WL 6043918, at *3 (S.D. Fla. Aug. 1, 2013). A dangerous condition is

                                                 5
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 6 of 9




  one that is not apparent and obvious to the passenger. Smolnikar v. Royal Caribbean Cruises,
  Ltd., 787 F. Supp. 2d 1308, 1315 (S.D. Fla. 2009). The mere fact that an accident occurs
  does not give rise to a presumption that the setting of the accident constituted a dangerous
  condition. See Isbell v. Carnival Corp., 462 F. Supp. 2d 1232, 1237 (S.D. Fla. 2006).
         Here, since Plaintiff alleges that Carnival created the dangerous condition, she does
  not need to prove notice in order to show negligence. Therefore, Carnival’s arguments
  regarding lack of notice of similar incidents are unavailing.           However, even after
  disregarding those arguments, Plaintiff still fails to demonstrate that Carnival breached its
  duty of care because she cannot point to any record evidence to support her claim that
  Carnival created the alleged dangerous condition. Plaintiff argues that Carnival has a policy
  of keeping the glass door in question closed at all times when the nightclub is open, and that
  Carnival violated its policy by leaving the door open when Plaintiff walked through the
  subject glass door the first time to check on her son. Essentially, Plaintiff argues that had
  Carnival followed its own operating procedures, she would never have banged into the glass
  door in question because she would have had to proactively open the door on her way to
  check on her son. However, Plaintiff fails to fully develop this line of reasoning and cannot
  point to any record evidence indicating that she passed through the nightclub when it was
  operational.
         Further, under maritime law, a carrier’s duty of reasonable care includes a duty to
  warn passengers of dangers of which the carrier knows or should know, but which may not
  be apparent to a reasonable passenger. Cohen v. Carnival Corp., 945 F. Supp. 2d 1351, 1357
  (S.D. Fla. 2013). The duty to warn, however, does not extend to dangers that are open and
  obvious. Id. Open and obvious conditions are those that should be obvious by the ordinary
  use of one’s senses. See Luby v. Carnival Cruise Lines, Inc., 633 F. Supp. 40, 42 (S.D. Fla.
  1986). Here, Plaintiff premises her entire argument on the fact that there were no visible
  markings on the glass door at issue. However, Carnival has introduced record evidence that
  indicates otherwise. The door had a sticker across its center, a handle, a warning sign, and a
  metal frame. Therefore, Carnival had no duty to warn Plaintiff about something that she
  should have noticed through the ordinary use of her senses. See id. at 40 (finding no duty to
  warn passenger about “the presence of the ledge behind the shower curtain [because it] was,
  or should have been, obvious to [the plaintiff] by the ordinary use of her senses”).

                                                 6
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 7 of 9




        B. Proximate Cause
           Carnival argues that even were Plaintiff able to establish a breach of the duty of care,
  her negligence action would still fail because she cannot establish that any alleged breach of
  Carnival’s duty proximately caused her injuries. I agree.
           Plaintiff alleges that Carnival’s breaches of its duty of care directly and proximately
  caused her to suffer various bodily injuries, including nasal sinus fractures, traumatic brain
  injuries, cognitive and memory difficulties, and exacerbated her pre-existing posttraumatic
  stress disorder and anxiety disorder. See generally Compl.; see also Pl.’s Resp. 2. In order to
  establish that Carnival’s breach of its duty of care proximately caused her injuries, Plaintiff
  requires the testimony of an expert. See Marking v. Novartis Pharm. Corp., Inc., 2002 WL
  32255405, at *3 (S.D. Fla. Feb. 12, 2002) (finding that a plaintiff is required to introduce
  expert testimony to establish medical causation). However, Plaintiff has no expert witness
  testimony to offer because she failed to properly disclose her expert witnesses as required by
  Rule 26(a)(2) of the Federal Rules of Civil Procedure.
           I ordered Plaintiff to furnish her expert witness list to the Defendant by November 4,
  2014. On November 4, 2014, the very day her expert witness disclosures were due, Plaintiff
  filed a motion for extension of time to file her expert disclosures. On November 7, 2014, I
  denied plaintiff’s motion without prejudice, explaining that extending the expert witness
  disclosure deadline would place undue pressure on other deadlines and alerting Plaintiff that
  she “may refile her motion clearly setting forth proposed deadlines with these considerations
  in mind.” Endorsed Order, ECF No. 32. Plaintiff did not re-file her motion, nor did she
  request further leave to serve her expert witness disclosures beyond the November 4, 2014
  deadline. Instead, Plaintiff waited until November 25, 2014, the deadline for all dispositive
  motions, to serve her expert witness disclosures on the Defendant. She then filed a motion
  with this Court on December 31, 2014, requesting that this Court deem her expert witness
  disclosures timely filed as of November 25, 2014. See Pl.’s Mot. for Clarification, ECF No.
  38.
           Plaintiff’s late disclosure troubles me. She waited until the day of the dispositive
  motion deadline to provide Defendant with her expert witness disclosures. Plaintiff appears
  to be operating under the ideology that it’s better to beg for forgiveness than to ask for
  permission, but that does not work here. Defendant rightly urges the exclusion of Plaintiff’s

                                                  7
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 8 of 9




  expert witness testimony under Rule 37(c)(1), which provides: “A party that without
  substantial justification fails to disclose information required by Rule 26(a) or 26(e)(1)…is
  not, unless such failure is harmless, permitted to use as evidence…any witness or
  information not so disclosed.” The rule further provides that “in addition to or in lieu of
  this sanction, the court…may impose other appropriate sanctions.”           Thus, whether to
  exclude testimony of an undisclosed, or in this case, untimely disclosed, expert rests within
  the Court’s discretion. See Cooper v. Southern Co., 390 F.3d 695, 728 (11th Cir. 2004); Prieto
  v. Malgor, 361 F.3d 1313, 1318 (11th Cir. 2004). To allow Plaintiff to rely on her untimely
  disclosed expert would unduly prejudice the Defendant, who will not have had an
  opportunity to depose Plaintiff’s expert or properly prepare rebuttal experts. Plaintiff, as the
  proponent of the expert, should have known the importance of compliance with Rule 26. I
  afforded Plaintiff an opportunity to re-file her request for additional time within which to
  file her expert witness disclosures but she failed to do so, and I will not approve such a
  request now. Therefore, without the testimony of an expert witness, Plaintiff has failed to
  establish that any alleged breaches of the duty of care by Carnival proximately caused her
  injuries.
     C. Damages
         Plaintiff testified in her deposition that she suffers from a fractured skull, CSF leak,
  and memory problems as a result of her injury on board Carnival’s vessel. However,
  Plaintiff’s damages claims fail because there is no record evidence to support her claims and,
  for the same reasons stated above, she cannot rely upon her untimely disclosed expert
  witness disclosures.    Therefore, Plaintiff has failed to establish that she suffered any
  damages as a result of Carnival’s alleged breach of its duty of care.
                                       III. CONCLUSION
         Having reviewed the arguments and the record, I find that Plaintiff fails to establish
  that Carnival breached any duty owed to her, that any alleged breach by Carnival
  proximately caused her injury, or that she suffered any damages. Essentially, Plaintiff fails
  to demonstrate that a genuine issue of material facts exists regarding the Defendant’s alleged
  negligence. Accordingly, summary judgment in favor of the Defendant is appropriate.
         It is, therefore, ORDERED and ADJUDGED that Defendant’s Motion for
  Summary Judgment (ECF No. 33) is GRANTED. Plaintiff’s Complaint is DISMISSED.

                                                 8
Case 1:14-cv-20237-MGC Document 50 Entered on FLSD Docket 04/08/2015 Page 9 of 9




  All pending motions, if any, are DENIED as moot. A separate judgment pursuant to Rule
  58 of the Federal Rules of Civil Procedure shall issue concurrently.
         DONE and ORDERED in chambers at Miami, Florida, this 8th day of April 2015.




  Copies furnished to:
  Edwin G. Torres, U.S. Magistrate Judge
  Counsel of Record




                                                9
